                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      at CHATTANOOGA

 DIAMOUND DINA BROWN                                  )
                                                      )   No. 1:13-CV-34/1:11-CR-27
 v.                                                   )   Judge Mattice
                                                      )
 UNITED STATES OF AMERICA                             )

                                            MEMORANDUM

             Diamound Dina Brown (ABrown@), a federal inmate, has filed a pro se motion for

 post-conviction relief pursuant to 28 U.S.C. ' 2255 (Criminal Doc. 153).1                 After entering

 a guilty plea to conspiracy to manufacture and distribute twenty-eight grams or more of a

 mixture and substance containing cocaine base, in violation of 21 U.S.C. §§ 841(a)(1)

 and (b)(1)(B), Brown received an 84 month sentence on October 17, 2011 (Criminal

 Docs. 134−Minute Entry, 138−Judgment of Conviction). In her § 2255 motion, Brown

 claims she was denied her Sixth Amendment right to effective assistance of counsel

 (Criminal Doc. 153).

         Because Brown=s ' 2255 motion is time-barred, the United States Attorney is not

 required to file an answer in this matter. For the reasons explained below, the Court

 concludes Brown’s ' 2255 motion will be DENIED as time-barred (Criminal Doc. 153).

 I.      Applicable Law

         Pursuant to the Antiterrorism and Effective Death Penalty Act of 1996 (AAEDPA@),

 there is a one-year statute of limitation for filing a ' 2255 motion. See 28 U.S.C. ' 2255.




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                  Each document will be identified by the Court File Number assigned to it in the underlying
 criminal case.

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 Title 28 U.S.C. 2255(f) provides that the one-year limitations period for federal inmates

 seeking relief under this section shall run from the latest ofB

        (1)     the date on which the judgment of conviction becomes final;

        (2)     the date on which the impediment to making a motion created by
                governmental action in violation of the Constitution or laws of the
                United States is removed, if the movant is prevented from making a
                motion by such governmental action;

        (3)     the date on which the right asserted was initially recognized by the
                Supreme Court, if that right has been newly recognized by the
                Supreme Court and made retroactively applicable to cases on
                collateral review; or

        (4)     the date on which the facts supporting the claim or claims presented
                could have been discovered through the exercise of due diligence.

 28 U.S.C. ' 2255(f).

 II.    Timeliness

        The statute of limitations in Brown’s case began to run from the date on which her

 judgment of conviction became final. 28 U.S.C. ' 2255(f) (1).2 Brown was sentenced to

 a term of imprisonment for 84 months on October 17, 2011 (Criminal Doc. 134−Minute

 Entry), and her judgment of conviction was entered on October 20, 2011 (Criminal Doc.

 138−Judgment). Brown did not pursue a direct appeal.

        When a ' 2255 movant does not pursue a direct appeal to the court of appeals, her

 conviction becomes final on the date on which the time for filing such appeal expires.

 Sanchez-Castellano v. United States, 358 F.3d 424, 425 (6th Cir. 2004).                       Brown=s

 judgment was entered on October 20, 2011, and Fed. R. App. P. 4(b)(1)(A) provides that

 a notice of appeal has to be filed within fourteen (14) days after entry of the judgment.


 2     Clearly, sections (f) (2) through (4) are not applicable to Brown’s case and she makes no such
 argument.
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 Rule 26(a) of the Federal Rules of Appellate Procedure instructs that weekends and

 holidays are counted in calculating the fourteen-day period. Under these rules, Brown

 had until November 3, 2011, to file a notice of appeal. Therefore, the one-year statute of

 limitations began to run on November 4, 2011, the date on which Brown’s judgment of

 conviction became final. 28 U.S.C. § 2255 (f) (1).

        Brown had one year from the time her judgment of conviction became final to file

 her ' 2255 motion. Thus, Brown was required to file her ' 2255 motion no later than

 November 2, 2012. A motion filed by a prisoner is deemed filed when given to the prison

 authorities for mailing. In re Sims, 111 F.3d 45, 47 (6th Cir. 1997), (citing Houston v.

 Lack, 487 U.S. 266, 270-71 (1988)). Brown certified under penalty of perjury that she

 gave prison authorities her motion for mailing on December 28, 2012 (Criminal Doc. 153,

 p. 20). Notably, the Clerk did not receive the motion until February 8, 2013. That

 makes sense however, because Brown explains the motion was returned to her on

 February 1, 2013, because she incorrectly addressed the envelope (Criminal Doc. No.

 153-1). Using the December 28, 2012, date as the filing date since the § 2255 motion

 was given to prison authorities for mailing on that date, Brown’s § 2255 is time-barred as

 it was filed more than a month after the expiration of the one-year statute of limitation for

 filing her ' 2255 motion (Criminal Doc. 153).

        A.     Prior Discovery Motion

        As discussed above, normally the date on which the statute of limitations begins to

 run would be the date the movant=s judgment became final. 28 U.S.C. ' 2255(f)(1).

 Brown contends that her § 2255 motion should be deemed timely as it relates back to her

 pro se motion requesting her sentencing transcripts (Criminal Doc. 147). The Sixth Circuit

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 rejected a similar argument in Johnson v. United States, 457 Fed.Appx. 462, 468 (6th Cir.

 2012) (Johnson’s letter inquiring about deadlines and revealing his intent to file a § 2255

 motion could not be construed as a § 2255 motion for purposes of the one year statute of

 limitation).

         As in Johnson, Brown’s motion requesting sentencing transcripts was not filed in

 the form of a § 2255 motion and in no way evidenced a clear intent to serve as a § 2255

 motion.    Rather, Brown’s motion for transcripts was a request for her sentencing

 transcripts and, like the letter in Johnson, revealed her intent to file a § 2255 motion in the

 future (Criminal Doc. 147). Accordingly, even under the liberal rules of construction

 applied to pro se filings, Brown’s motion requesting her sentencing transcript “cannot be

 construed as a § 2255 motion for the purposes of the § 2255 limitations period[,]” id. at

 468, or as a ground for equitably tolling the statute of limitations.3 See United States v.

 Oriakhi, 394 Fed. Appx. 976 (4th Cir. 2010) (diligent pursuit of transcripts did not toll

 § 2255 one year statute of limitations); Jihad v. Hvass, 267 F.3d 803, 806 (8th Cir. 2001)

 (“[L]ack of access to a trial transcript does not preclude a petitioner from commencing

 post-conviction proceedings and therefore does not warrant equitable tolling”); Gassler v.

 Bruton, 255 F.3d 492, 495 (8th Cir. 2001) (“Possession of a transcript . . . is not a condition

 precedent to the filing of [post-conviction relief]”).

                 B.      New Claim of Timeliness

         The Court gave Brown the opportunity to show cause why her § 2255 motion

 should not be dismissed as time-barred (Criminal Doc. 157).                    Brown has filed her


 3      Notably, the Court denied Brown’s motion requesting transcripts on February 3, 2012 (Criminal
 Doc. 148). At that time, the Clerk sent Brown the proper forms to file a § 2255 motion, but Brown waited
 more than ten months to file the motion.
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 response (Criminal Doc. 158). Although Brown’s response is very confusing and lacks

 any specific factual allegations or supporting evidence, the Court discerns, Brown, for the

 first time, now claims she actually filed her § 2255 motion timely as it was filed on some

 unidentified date prior to December 28, 2012, the date reflected on her § 2255 motion and

 the date on which the Court previously deemed as the filing date (Criminal Doc. 158).

 Notably, Brown has failed to present any evidence, specific facts, or an affidavit

 supporting her new contention.

       As the Court understands Brown’s response to the Court’s show cause order,

 without identifying the date, she now contends that although she did not sign and date her

 § 2255 motion until December 28, 2012, she had actually filed it prior to that date, but it

 was returned because she incorrectly addressed the envelope (Criminal Doc. 158, at 2).

 Specifically, in her unverified response to the Court’s show cause order, Brown claims

 she previously filed her § 2255 motion, only to have it returned due to an incorrect

 address. Upon receipt of the returned pleading, she realized she had failed to sign and

 date the motion. Therefore, she signed the motion and had someone help her type the

 date of December 28, 2012, on it (Criminal Doc. 158).          This unverified allegation,

 however, directly contradicts the letter she previously sent to the Court with her § 2255

 motion explaining her § 2255 motion was returned to her on February 1, 2013, because it

 was incorrectly addressed (Criminal Doc. 153-1, at 1; 158 at 2). Importantly, Brown does

 not claim she incorrectly addressed the envelope twice and it was returned to her twice.

       Aside from the fact that her claim to have signed and placed her § 2255 motion in

 the mail on December 28, 2012, would mean it took more than a month for her mailing to

 reach the Court as her pleading was not received until February 8, 2013, this new claim is

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 not credible because it directly contradicts the letter Brown sent with her § 2255 motion

 wherein she notified the Court her pleading was returned to her February 1, 2013,

 because it was incorrectly addressed (Criminal Doc. 153-1, at 1).               The previous

 explanation filed with her § 2255 motion seems more credible and plausible since the

 Court received Brown’s § 2255 motion on February 8, 2013, approximately one week

 after it was returned to her (Criminal Doc. 153). Brown has provided no credible proof

 demonstrating she initially gave her § 2255 motion to prison authorities for mailing prior to

 December 28, 2012. In sum, the preponderance of the proof before the Court

 demonstrates Brown initially signed and filed her § 2255 on December 28, 2012, but it

 was returned to her because she incorrectly addressed the envelope. After her motion

 was returned to her on February 1, 2013, she re-mailed the pleading to the correct

 address.

        In this § 2255 proceeding, Brown has the burden of establishing by a

 preponderance of the evidence that her § 2255 motion was timely filed. See Pough v.

 United States, 442 F.3d 959, 964 (6th Cir. 2006). For the reasons explained above,

 Brown has failed to prove, by a preponderance of the evidence, that she timely filed her

 § 2255 motion. Thus, Brown is not entitled to relief under 28 U.S.C. § 2255.

        Although Brown does not argue she is entitled to have the applicable one year

 statute of limitations equitably tolled, in appropriate cases, the limitation period may be

 equitably tolled to excuse the tardy filing of a § 2255 motion. Solomon v. United States,

 467 F.3d 928 (6thCir. 2006). Although application of the doctrine of equitable tolling to

 toll the one year statute of limitations applicable to § 2255 motions is permitted, id. at 935,

 to qualify for equitable tolling, a movant must demonstrate she has been diligently

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 pursuing her rights and that some extraordinary circumstance prevented her from timely

 filing her federal habeas petition. Holland v. Florida, 560 U.S. 631, 649 (2010). The

 doctrine of equitable tolling is used sparingly and, typically, is applied “only when a

 litigant’s failure to meet a legally-mandated deadline unavoidably arose from

 circumstances beyond that litigant’s control.” Jurado v. Burt, 337 F.3d 638, 642 (6th Cir.

 2003).

          The burden is on Brown to show she is entitled to equitable tolling. McClendon v.

 Sherman, 329 F.3d 490, 494 (6th Cir. 2003). Brown has failed to make either the diligent

 or extraordinary circumstance showing. Indeed, there is no credible evidence before the

 Court from which it may conclude equitable tolling saves Brown’s § 2255 motion from the

 statute of limitations bar, and the record indicates she is unable to make either showing.

 Accordingly, equitable tolling is not applicable here.

 IV.      Conclusion

          For the reasons explained herein, Brown’s ' 2255 motion will be DENIED as

 time-barred, and this action will be DISMISSED in its entirety (Criminal Doc. 153).

          An appropriate judgment order will enter.



                                                         /s/ Harry S. Mattice, Jr._______
                                                        HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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